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 I.        NATURE AND STAGE OF THE PROCEEDINGS

           Plaintiff Seakeeper, Inc. (“Seakeeper”) has not shown that it is entitled to the extraordinary

 remedy of a temporary restraining order (“TRO”). For one, it is unlikely to—indeed, it appears it

 cannot—succeed on the merits. Its assertion that the accused Dometic DG3 gyroscopic stabilizer

 (the “DG3”) infringes its U.S. Patents No. 7,546,782 (the “’782 Patent”) and 8,117,930 (the “’930

 Patent”) is based on speculative, and completely unfounded, assumptions about the DG3’s

 construction, design, and operation. Worse still, Seakeeper did not sue the right party (or even file

 suit in the right court). Dometic Corporation, the entity that Seakeeper has sued, is not even the

 entity that is responsible for the design, manufacture, and distribution of the DG3. That entity is

 Dometic Marine Canada, Inc. (“DMC”), a Canadian corporation which has no pertinent ties to

 Delaware, and which therefore lies outside of this Court’s jurisdiction.

            Further, Seakeeper has not shown that it will suffer irreparable harm due to the presence

 of the DG3 on the market, let alone that it will suffer such harm in the time that it takes the Court

 to decide its pending motion for a preliminary injunction (the “PI Motion”).               Seakeeper’s

 allegations of immediate, irreversible harm are unsupported. Its own delay in requesting a TRO

 belies its assertion that its market position is irreparably threatened. After the DG3 was announced,

 Seakeeper waited over two months to file suit. It did not seek a TRO at that time. Seakeeper then

 waited another two weeks to file the PI Motion. Again, it did not include a TRO request in that

 motion, or otherwise indicate any desire to seek an emergency ruling from the Court. It was not

 until May 15—over three months after it first learned of the DG3—that Seakeeper finally

 bootstrapped its flawed PI Motion with a motion for a TRO (the “TRO Motion”). Indeed, though

 Seakeeper has now filed this “emergency” motion—largely a carbon copy of its PI Motion restyled

 as a motion for a TRO—in an apparent attempt to obtain an expedited ruling on the PI Motion,



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 Seakeeper had conceded in the PI Motion that it required additional discovery in order to present

 its claims. In light of these substantive and procedural flaws, the TRO Motion should be denied.

 II.       SUMMARY OF ARGUMENT

           A.     Seakeeper has not shown a likelihood of success on the merits. It cannot establish

 liability for infringement at least because Dometic Corporation has no involvement in the

 manufacture or distribution of the accused device. Even setting that aside, Seakeeper’s assertion

 that the DG3 infringes its patents is baseless. The asserted claims of the ’930 Patent require the

 enclosure of the gyrostabilizer to contain “a below-ambient density gas . . . ha[ving] a thermal

 conductivity at least 5 times greater than air.” Seakeeper speculates that the DG3 meets this

 element because its enclosure includes helium. In reality, the DG3’s enclosure contains not

 helium but air, and so by definition does not include a “below-ambient density gas” with a

 “thermal conductivity at least 5 times greater than air.” As to the asserted claims of the ’782

 Patent, they describe a cooling assembly in which heat is forced to move from the heat-generating

 components inside the gyrostabilizer’s enclosure “to the exterior of the enclosure,” where the heat

 is dissipated into surrounding air. By contrast, the DG3 is designed to prevent heat from flowing

 to the enclosure’s exterior to keep components mounted on the enclosure from overheating.

           B.     Seakeeper has not shown that the entry of the DG3 onto the market will cause it

 imminent, irreparable harm absent a TRO. Its delay of over three months in requesting a TRO

 alone justifies denying the request. Regardless, Seakeeper has failed to show that it will suffer any

 substantial competitive harm just in the time that it will take the Court to rule on the pending PI

 Motion. Seakeeper’s allegations of imminent loss of substantial market share, price erosion, and

 lost R&D opportunities are speculative and unsupported. Moreover, even if Seakeeper had shown

 that these harms were imminent, none would qualify as irreparable, because all would be

 compensable by money damages. Finally, even if Seakeeper had shown that it would suffer
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 immediate competitive harm, it has offered no evidence tying this harm to the DG3’s alleged

 incorporation of its patented technology, which is a pre-requisite for obtaining injunctive relief.

           C.     Neither the balance of the equities nor the public interest favors shielding Seakeeper

 from legitimate competition in the marketplace.

 III.      STATEMENT OF FACTS

           A.     The Seakeeper Patents

           A gyroscopic stabilizer is a device that reduces the side-to-side rolling of a marine vessel,

 especially in rough water. (D.I. 1 at ¶ 17.) It contains a large disc, called a flywheel, turning at

 very high rotational speeds. (Id.; D.I. 1-1 at 11 (1:14-16).) The flywheel’s rotation generates

 torque to counteract the rolling motion experienced at sea, balancing the vessel’s movement. (D.I.

 1 at ¶¶ 4, 17.) However, the bearings that hold the flywheel in place generate a lot of frictional

 heat due to the high rotational speed of the flywheel, and this heat must be dissipated to keep the

 device from overheating. (D.I. 1-1 at 11 (1:14-20).) The ’782 and ’930 Patents, which share a

 common specification, describe an assembly for cooling the internal heat-generating components

 of a gyrostabilizer. (D.I. 1-1 at 11 (1:14-2:40).) Figure 1, reproduced below with highlighting,

 illustrates a cross-sectional view of a gyrostabilizer comprising the inventors’ cooling assembly:




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 The gyrostabilizer has a flywheel 12 (yellow) spinning in an enclosure 14 (green). (D.I. 1-1 at 13

 (6:25-29).) The enclosure may contain a “below-ambient density gas (e.g., helium or hydrogen)

 to reduce friction on the spinning flywheel.” (Id.) The flywheel is spun by an electric motor 16

 (light blue). (Id. at 13 (6:29-32).) Two sets of bearing assemblies—one upper, one lower—hold

 the flywheel in place. (Id.) Figure 2 provides an enlarged view of the upper bearing assembly:




 The bearing assembly includes an outer housing 22 (orange), an outer race 26 (blue), an inner race

 30 (red), and balls 34 (brown). (D.I. 1-1 at 13 (6:33-38).) Upper and lower retainers 40, 42 (purple)

 hold the bearing assembly in place. (Id.) Each race of the bearing is a ring-shaped track around

 the circumference of the flywheel that provides a smooth surface for the rolling elements (balls)

 to move upon in order to reduce rotational friction. (D.I. 10 at ¶ 22.) The outer race is stationary;

 the inner race is affixed to the flywheel and rotates with it. (D.I. 1-1 at 11 (2:23-24, 2:34-35).)

           The patents’ specification states that, “[t]ypically, heat will build up on the inner races of

 the bearings that support the flywheel” due to the high rotational speeds of the flywheel, and that

 “[s]uch a build up of heat on the inner races can lead to failure of the apparatus.” (D.I. 1-1 at 11

 (2:23-28).) The patent purports to solve this problem by providing the inner races of the bearing

 assemblies with a ready cooling path to the exterior of the device. Specifically, the inventors’

 cooling system comprises cooling collar assemblies located adjacent to each bearing assembly.

 (Id. at 13 (6:39-42).) Each cooling collar assembly consists of an inner collar 54 (pink), which is

 attached to the flywheel and rotates with it, and an outer collar 58 (green), which forms part of the

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 enclosure and is therefore stationary. (Id. at 13 (6:43-45).) Each collar includes a set of cylindrical,

 tooth-like elements called “vanes” 62, 66. (Id. at 13 (6:48-67).) The vanes of the rotating inner

 collar are configured to mate with the vanes of the stationary outer collar, leaving only small gaps

 between them to allow the rotating vanes to move freely with respect to the stationary vanes. (Id.)

           Heat that builds up at an inner race (red) of the bearing assembly flows from the inner race

 to the vanes of the adjacent rotating inner collar (pink). (D.I. 1-1 at 12 (4:17-22).) From there, the

 heat flows to the vanes of the stationary outer collar (green), as the movement of the rotating vanes

 relative to the stationary vanes promotes heat transfer from one to the other by convection or

 gaseous conduction. (Id.) Finally, once the heat reaches the outer collar, it flows to the exterior

 surface of the enclosure, where it is dissipated through atmospheric cooling.               (Id.)   The

 specification asserts that this cooling method is beneficial because heat can be “removed passively

 [i.e., by atmospheric cooling only] without circulating any [cooling] fluids inside the enclosure,”

 which “considerably simplifies the device” by eliminating the need for additional components,

 such as a “coolant pump” and/or a “heat exchanger.” (Id. at 12 (4:45-50).)

           B.         The Dometic DG3 Device

           The accused DG3 gyrostabilizer, designed and marketed by DMC (D.I. 41-1 at ¶ 8), is

 shown below in partial cross-section. It includes a flywheel (blue), which rotates about a stationary

 support (white). (D.I. 41-2 at ¶ 8.) A bearing assembly supports rotation between the stationary

 support and flywheel. (Id.) The bearing assembly includes an inner race and outer race (both dark

 grey). (Id.) The inner race of the bearing assembly is

                  the outer race is coupled to the flywheel and rotates with the flywheel. (Id.) Rotating

 cooling fins (purple) are coupled to the flywheel; stationary cooling fins (light grey) are coupled

 to the enclosure (green). (Id.) The enclosure contains air under below-ambient pressure. (Id.)



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  (Id. at ¶ 9.) Thus, heat generated at the outer race (dark grey) is directed to flow from the outer

  race to the rotating fins (purple); then from the rotating fins to the stationary fins (light grey); and

  then from the stationary fins into the coolant channels, and not to the exterior of the enclosure.

  (Id. at ¶ 12.) Finally, heat is removed from the internal coolant loop by placing the loop in contact

  with piping that circulates raw water ingested from the surrounding body of water. (Id. at ¶ 9.)

  IV.       ARGUMENT

            A motion for a TRO is evaluated under the same standards as a motion for a preliminary

  injunction. Genentech, Inc. v. Immunex R.I. Corp., 395 F. Supp. 3d 357, 366 (D. Del. 2019). 2

  Seakeeper has the burden to show that it is entitled to the “drastic and extraordinary remedy” of

  preliminary injunctive relief. Intel Corp. v. ULSI Sys. Tech., Inc., 995 F.2d 1566, 1568 (Fed. Cir.

  1993). A district court must consider (1) whether the movant is likely to succeed on the merits,

  (2) whether it would suffer irreparable harm absent an injunction, (3) whether the balance of the

  equities tips in its favor, and (4) whether an injunction is in the public interest. Id. A TRO request

  may be denied based on the movant’s “failure to show any one of the four factors—especially

  either of the first two—without analyzing the others.” Jack Guttman, Inc. v. Kopykake Enters.,

  Inc., 302 F.3d 1352, 1356 (Fed. Cir. 2002). Seakeeper has not met its burden on any of the factors.

            A. Seakeeper Is Not Likely to Succeed on the Merits.

            Seakeeper is unlikely to succeed on the merits for at least three independent reasons: (1)

  it has sued the wrong party; (2) it has no credible case that the DG3 infringes the ’930 and ’782

  Patents; and (3) there is at least a substantial question as to the validity of the asserted patents.

                     1.      Dometic Corporation Has No Involvement With the Accused Product.

            The Complaint and TRO Motion allege that Dometic Corporation makes, uses, sells, offers



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      Internal quotation marks and citations are omitted throughout this brief, unless otherwise noted.

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  for sale, and/or imports the accused DG3 device. (D.I. 1 at ¶¶ 68, 88; D.I. 30 at 6.) This is not

  true. Dometic Corporation has no involvement with the DG3; rather, the company responsible for

  its design, manufacture, and distribution is DMC, a legally distinct entity in the global Dometic

  corporate family. 3 (D.I. 41-1 at ¶¶ 5-8.) And, indeed, neither the Complaint nor PI Motion

  presents any facts linking Dometic Corporation, the named defendant, to the DG3. Dometic

  Corporation is not mentioned in connection with the accused product in any of the materials

  attached to the Complaint or PI Motion. On the contrary, these materials specifically reference

  DMC. In particular, the Dometic patent application alleged by Seakeeper to cover the allegedly

  infringing device lists DMC, not Dometic Corporation, as the applicant. (D.I. 10-1 at 6.)

            Further, Seakeeper has not alleged (let alone proven) any facts that would justify holding

  Dometic Corporation liable for the acts of its corporate affiliate. That Dometic Corporation

  happens to be situated as DMC’s indirect parent in the Dometic corporate structure (D.I. 41-1 at

  ¶ 8) is immaterial. A parent corporation may be liable for infringement by a subsidiary “only if

  the evidence reveals circumstances justifying disregard of the status of [the subsidiaries and the

  parent] as distinct, separate corporations.” A. Stucki Co. v. Worthington Indus., 849 F.2d 593, 596

  (Fed. Cir. 1988) (emphasis added). DMC is an independent corporation, separate from Dometic

  Corporation, and is responsible for its own management, operations, and governance. (D.I. 41-1

  at ¶ 10.) Because this is not a case where “the parent effectively controls the conduct of the

  subsidiary,” no basis exists for piercing the corporate veil and holding Dometic Corporation liable

  for the allegedly infringing conduct of DMC. M2M Sols., LLC v. Telit Communs. PLC, No. 14-

  1103-RGA, 2015 U.S. Dist. LEXIS 102349, at *8 (D. Del. Aug. 5, 2015).

            Nor is Seakeeper’s failure to sue the proper party something it could fix by simply seeking


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   Dometic Corporation and DMC are indirect subsidiaries of Dometic Group AB, a Swedish corporation.
  (D.I. 41-1 at ¶ 4.)

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  a broad injunction order. Federal Rule of Civil Procedure 65(d)(2) only permits binding the party,

  its agents, and “other persons who are in active concert or participation” with the enjoined party,

  and there is no evidence that DMC is acting as an agent of, or in active concert or participation

  with, Dometic Corporation. Moreover, DMC could not be joined as a defendant in this action. As

  a British Columbia corporation headquartered in Vancouver (D.I. 41-1 at ¶ 9), DMC is not “at

  home” in Delaware, and so is not subject to general jurisdiction in the state. Daimler AG v.

  Bauman, 571 U.S. 117, 139 (2014). Further, neither the Complaint nor TRO Motion contains any

  allegations tying the accused DG3 device to Delaware, such as an allegation that the DG3 has been

  shipped to or sold in Delaware. Thus, there exists no basis for exercising specific jurisdiction over

  DMC, either. Freres v. SPI Pharma, Inc., 629 F. Supp. 2d 374, 389 (D. Del. 2009). 4

            In short, Seakeeper sued the wrong party, and this Court lacks jurisdiction over the party

  Seakeeper should have named. The TRO Motion should be denied on this basis alone.

                   2.      The DG3 Does Not Infringe the Asserted Patent Claims.

            Seakeeper asserts claims 1 and 14 of the ’930 Patent 5 and claims 11 and 17 of the ’782

  Patent. (D.I. 30 at 12.) Seakeeper has not come close to showing that it is likely to succeed in

  proving infringement. Indeed, the record establishes that the DG3 could not possibly infringe.

                           a.     The DG3 Does Not Infringe Claims 1 and 14 of the ’930 Patent.
            Independent claims 1 of the ’930 Patent describes a “gyroscopic roll stabilizer for a boat”

  comprising, inter alia, a “flywheel”; a “first plurality of vanes coupled to the flywheel”; a “second

  plurality of vanes fixed relative to the enclosure . . . such that the first plurality of vanes spin with


  4
    While this brief cites to a declaration from an employee of DMC discussing the technical aspects of the
  accused DG3 device (which is necessary to rebut Seakeeper’s allegation that the device infringes the ’782
  and ’930 Patents) (D.I. 41-2), the submission of this declaration for that limited purpose in no way
  constitutes waiver of any jurisdictional objection, or any other substantive or procedural objection, that
  DMC might interpose in the event Seakeeper sought to add it as a party to this case.
  5
    The PI Motion also asserted claim 6 of the ’930 Patent. (D.I. 9 at 7.) The TRO Motion omits claim 6.

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  respect to the second plurality of vanes”; “at least one rotating heat generating component coupled

  to the flywheel and positioned such that heat is transferred from the heat generating component to

  the first plurality of vanes”; and a “below-ambient density gas” in the enclosure, “wherein the

  below ambient density gas has a thermal conductivity at least 5 times greater than air.”

  (Emphasis added.) Independent claim 14 describes a “method of stabilizing a boat” that recites

  many of the same elements as claim 1, including an enclosure containing a “below-ambient density

  gas” having a “thermal conductivity at least 5 times greater than air.”

            The DG3 cannot infringe these claims because its enclosure contains air. (D.I. 41-2 at

  ¶¶ 8, 26).) Air is not a “below-ambient density gas.” A person of ordinary skill in the art would

  understand the term “a below-ambient density gas” to mean that, under standard atmospheric

  conditions, the gas has a lower density than air. (Id. at ¶ 27.) The specification of the ’930 Patent

  mentions helium and hydrogen as examples of such gases. (D.I. 1-2 at 13 (6:40-41).) By

  definition, the term “a below-ambient density gas” excludes air because air cannot have a lower

  density than itself. (D.I. 41-2 at ¶ 27.) Similarly, the gas in the enclosure of the DG3 cannot have

  a “thermal conductivity at least 5 times greater than air,” because the gas in the enclosure is air,

  and air cannot have “thermal conductivity at least 5 times greater than air.” (Id. at ¶¶ 28-29.)

            Seekeper’s entire infringement theory rests on its speculative assumption that the DG3

  enclosure contains not air but helium. (D.I. 10 at ¶ 65.) The sole basis for that assumption is that

  a patent application filed by DMC describes a gyrostabilizer in which the housing optionally “may

  include . . . helium.” (Id.) But, as Seakeeper well knows (or at least should know), the fact that a

  patent application describes the optional use of a particular material or component does not mean

  that the applicant’s real-world commercial product in fact includes that material or component.

            In sum, Seakeeper’s assertion that the DG3 infringes the ’930 Patent is plain wrong.



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                           b.      The DG3 Does Not Infringe Claims 11 and 17 of the ’782 Patent.
            Claim 11 of the ’782 Patent is an independent claim; claim 17 depends from claim 11.

  Claim 11 describes a “[c]ooling apparatus” comprising, inter alia, a “flywheel or other spinning

  member”; an “enclosure enclosing the spinning member”; a “first plurality of vanes attached to

  the spinning member”; “a second plurality of vanes fixed relative to the enclosure and the spinning

  member such that the first vanes move with respect to the second vanes,” “wherein the first and

  second vanes are positioned in close proximity to one another so that substantial heat is transferred

  from the first vanes to the second vanes and the second vanes are configured such that heat can

  be readily transferred from the second vanes to the exterior of the enclosure.” (Emphasis added.)

            The DG3 cannot infringe claims 11 and 17 at least because it lacks second (stationary)

  vanes configured to “readily transfer[]” heat to the “exterior of the enclosure.” In fact, as discussed

  supra at 10-11, the DG3 is specifically designed to avoid the transfer of heat from the stationary

  fins to the exterior of the enclosure

                   Thus, instead of employing the “passive,” atmospheric-cooling method of the ’782

  Patent—which directs the flow of heat from the heat-generating components inside the enclosure

  to its exterior, from where it is dissipated into the atmosphere—the DG3 removes heat from the

  interior of its enclosure by circulating a cooling liquid through an internal coolant “loop.” (See

  supra at 10-11.) This coolant loop system includes cooling channels adjacent to the stationary

  fins, which are positioned there specifically to keep heat from moving from the stationary fins to

  the exterior of the enclosure; instead, the heat is redirected into the adjacent cooling channels.

  (See supra at 10-11.) Heat is then removed from the internal coolant loop by placing it in contact

  with pipes that circulate water from the surrounding body of water. (See supra at 11.)

            In effect, the DG3 employs a fluid-to-fluid heat exchanger to dissipate heat, the two fluids

  being the cooling glycol mixture (which is pumped into the internal coolant loop, and which

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  removes heat from the heat-generating components inside the enclosure) and the raw sea water

  (which is ingested into the piping adjacent to the coolant loop, and which in turn removes heat

  from the coolant loop). (See supra at 10-11; see also D.I. 41-2 at ¶ 9.) This is exactly the type of

  cooling system that the inventors of the ’782 Patent expressly criticized and distinguished from

  their patented system. (D.I. 1-1 at 12 (4:45-50); see supra at 9.) 6

            The TRO Motion reveals no reasonable basis for the assertion that the DG3 infringes the

  ’782 Patent. Seakeeper’s declarant assumes that, in the DG3, the “only” thermal path is from the

  inner race to the first (rotating) vanes to the second (stationary) vanes and “then to the enclosure.”

  (D.I. 10 at ¶ 51.) However, he provides no support for this assumption. Similarly, the TRO Motion

  includes a statement by DMC’s President referencing a “cooling method” employed in the DG3,

  and, based on this generic statement, it leaps to the conclusion that the DG3 must be using

  Seakeeper’s technology. (D.I. 30 at 15.) But, as discussed supra, this speculation has no basis in

  fact, and even a cursory review of publicly available information should have put Seakeeper on

  notice that the DG3 removes heat from the enclosure not by Seakeeper’s “passive” atmospheric-

  cooling method but instead by employing an active cooling method (i.e., a heat exchanger) of the

  type the inventors criticized in the ’782 Patent. For example, a promotional DG3 video cited in

  the Complaint (D.I. 1 at ¶ 47) specifically references the use of an “advanced cooling system”

  comprising, inter alia, a “titanium heat exchanger.” How the New Dometic DG3 Gyro Works,

  https://www.youtube.com/watch?v=6c1JaSP0cOo, at 3:30 (last accessed on May 21, 2025).


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   Although the specification of the ’782 Patent purports to disclose an alternative embodiment, shown in
  Figures 10-14, in which a cooling liquid is sprayed onto the rotating vanes to cool them down (D.I. 1-1 at
  12 (4:51-62); id. at 13 (6:1-11)), this embodiment is not claimed in the patent. In fact, during prosecution
  of the patent, the Examiner issued a restriction requirement advising the applicants that this alternative
  embodiment in Figures 10-14 was “distinct” from, and “mutually exclusive” with, the embodiment
  described in the rest of the application, in which no cooling spray is used to remove heat. (D.I. 41-6 at 4.)
  The applicants elected to proceed with the latter (Group I) embodiment and cancelled all pending claims
  directed to the former (Group II) embodiment. (D.I. 41-7 at 8.)

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  at 27-28, 41, 53.) As explained by Dr. Gregory Buckner, a professor of mechanical and aerospace

  engineering at North Carolina State University, it would have been obvious to a person skilled in

  the art to employ Sibley’s, Jäger’s, or Bimshas’s interleaving cooling fins in Adams’s

  gyrostabilizer, at least because Adams itself recognizes the need to cool the bearings of its

  flywheel. (Id. at 28, 41-42, 53; Ex. B at ¶ 26.) The combination of Adams with Sibley, Jäger, or

  Bimshas thus teaches all elements of claims 1 and 14 of the ’930 Patent. (Ex. A at 65-69, 75-79.)

            Claims 11 and 17 of the ’782 Patent additionally require the first and second vanes to be

  cylindrical elements extending in a direction substantially parallel to the axis of rotation of the

  spinning member (flywheel). To the extent Sibley or Jäger do not disclose cooling fins that extend

  in a direction parallel to the spinning member, Bimshas does. (Ex. D at 57.) Therefore, claims 11

  and 17 would have been obvious over the Adams publication in combination with either Sibley

  and Jäger, and in further view of Bimshas. (Id. at 56-58.)

            Of note, in its preliminary response to the IPR petition challenging the ’930 Patent,

  Seakeeper did not purport to identify any substantive gaps in the petitioner’s prima facie case of

  obviousness. 8 (See Ex. C.) Instead, Seakeeper limited its substantive arguments to secondary

  considerations of non-obviousness. (Ex. C at 21-33.) Similarly, in its TRO Motion, Seakeeper

  suggests that evidence of secondary considerations supports non-obviousness. (D.I. 30 at 16-17.)

  However, such evidence is only significant if it “ha[s] a ‘nexus’ to the claims.” Fox Factory, Inc.

  v. SRAM, LLC, 944 F.3d 1366, 1373 (Fed. Cir. 2019). This means that the patentee has to show

  that its commercial success and/or other secondary considerations are the “direct result of the

  unique characteristics of the claimed invention.” Id. at 1374. Seakeeper has made no such

  showing here (or even tried to). If anything, the record confirms that it owes the alleged success


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   Seakeeper did not file a preliminary response to the petition challenging the ’782 Patent because the
  petitioner withdrew the petition prior to Seakeeper’s preliminary response deadline.

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  of its gyrostabilizers to the presence of other, “unclaimed” product features. Id. at 1376.

            Thus, Seakeeper’s marketing materials tout the following features of its gyrostabilizers:

  “active control,” a “vacuum sealed” enclosure, and an “innovative cooling system.” (D.I. 13-1 at

  5 (Att. RS-1 at 5).) However, the “active control” feature, which supposedly automatically adjusts

  gyro force depending on sea conditions (id.), is not even hinted at in the ’782 and ’930 Patents.

  Further, although the patents describe a vacuum-sealed enclosure, it is not the claimed advance

  over the prior art; rather, the patents’ specification admits that enclosing the flywheel of a

  gyrostabilizer in a partial vacuum was well-known. (D.I. 1-1 at 11 (1:24-26).) Lastly, even the

  cooling system touted in Seakeeper’s marketing materials is not the patented system. Instead of

  the “passive” atmospheric-cooling system disclosed and claimed in the ’782 and ’930 Patents (see

  supra at 9), Seakeeper’s commercial gyrostabilizers appear to employ an active cooling system

  that removes heat from the enclosure using a “glycol/seawater” combination. (D.I. 13-1 at 11-13

  (Att. RS-1 at 11-13).) In other words, they use a cooling system more akin to that found in the

  DG3, and expressly criticized as inferior in the patents’ specification. (See supra at 9-11.)

            In light of the foregoing, there exists at least a substantial question as to the validity of the

  ’930 and ’782 Patents. Accordingly, the TRO Motion should be denied for that reason alone.

            B.      Seakeeper Has Not Shown Irreparable Harm.

            Seakeeper has not made a “clear showing” that it will suffer “substantial and immediate

  irreparable injury” absent emergency injunctive relief. Apple, Inc. v. Samsung Elecs. Co., 678 F.3d

  1314, 1324-25 (Fed. Cir. 2012). It says it is entitled to a “presumption” of irreparable harm

  because it has shown a “strong” likelihood of success on the merits. (D.I. 30 at 17.) Not so.

  Setting aside that Seakeeper is not, in fact, likely to succeed on the merits, the Supreme Court has

  in any event “jettisoned the presumption of irreparable harm as it applies to determining the



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  appropriateness of injunctive relief.” Robert Bosch LLC v. Pylon Mfg. Corp., 659 F.3d 1142, 1149

  (Fed. Cir. 2011) (citing eBay Inc. v. MercExchange, L.L.C., 547 U.S. 388 (2006)). 9 Seakeeper

  must prove that it will suffer irreparable harm without a TRO. It has failed to meet that burden.

            First, Seakeeper’s delay in moving for a TRO alone requires denying its motion. “[D]elay

  in seeking a remedy is an important factor bearing on the need for a preliminary injunction.” High

  Tech Med. Instrumentation, Inc. v. New Image Indus., 49 F.3d 1551, 1557 (Fed. Cir. 1995). Here,

  the launch of the DG3 was announced on February 11, 2025 at the 2025 Miami International Boat

  Show. (D.I. 1 at ¶ 46.) Seakeeper was present at that trade event. (D.I. 12 at ¶ 23.) However, it

  did not file this suit until April 21. (D.I. 1.) It did not move for a preliminary injunction until May

  5. (D.I. 8.) And, even in that motion, it made no mention of any desire to seek an emergency

  ruling from the Court; on the contrary, the PI Motion stated that Seakeeper expected to be able to

  conduct discovery and “supplement” its brief prior to any hearing. (D.I. 9 at 1 fn. 1.) It was not

  until May 15—over three months after it first learned of the product that it now claims represents

  an imminent, existential threat to its business—that Seakeeper suddenly moved for an

  “emergency” TRO. (D.I. 30.) There was nothing stopping Seakeeper from filing the TRO Motion

  earlier (for example, together with the Complaint, or even sooner). Its lack of urgency in bringing

  this motion refutes its assertion of imminent, irreparable harm.

            Second, even putting aside its unexplained delay in requesting a TRO, Seakeeper has not

  shown that it is likely to suffer any irreparable harm in the relatively short time between now and

  when the Court issues its ruling on the PI Motion. For context, Seakeeper’s gyrostabilizers are

  offered in no less than “twelve (12) sizes that can be found on vessels from 23-foot center-console



  9
    Although Seakeeper claims that “[p]ost-eBay decisions in this Circuit have recognized likelihood of
  success gives rise to a presumption of irreparable harm” (D.I. 30 at 17), all of the district court cases it cites
  pre-date the Federal Circuit’s holding in Robert Bosch.

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  fishing boats to 200-foot mega-yachts.” (D.I. 13 at ¶ 8; see also D.I. 13-1 at 24-25 (Att. RS-2 at

  11-12).) By contrast, the DG3 is “specifically designed for the 35- to 41-foot boat market.” (D.I.

  11-1 at 185 (Att. AS-7 at 3).) Thus, out of Seakeeper’s 12 gyrostabilizers, the DG3 might compete

  with at most only two: Seakeeper 3 and Seakeeper 4, designed for 35-41 foot and 38-44 foot boats,

  respectively. (D.I. 13-1 at 24 (Att. RS-2 at 11).) It is wholly implausible for Seakeeper to suggest

  that competition in this narrow segment of the market will irreparably injure its business—

  including through “substantial” loss of market share, irreversible price erosion, and lost R&D

  opportunities (D.I. 30 at 18-24)—just in the time that it takes the Court to rule on the PI motion.

  Indeed, Seakeeper’s assertions of harm are not backed up by any credible, competent evidence.

            Beginning with loss of market share, Seakeeper speculates that, because one boat builder

  (Regulator Marine, Inc.) has announced its intention to install the DG3 in its 35-foot boat, other

  boat builders are about to follow suit and commit to the DG3 over Seakeeper 3/4. (D.I. 30 at 18-

  19.) Seakeeper claims to be aware of “45 new boat designs now in the planning stages that could

  employ Dometic’s DG3.” (Id.) But Seakeeper provides no support for its implicit assumption

  that, but for the availability of the DG3, these boat builders would necessarily choose to install

  Seakeeper’s products.




                                                                                                 And,

  regardless, Seakeeper claims to be the “global leader in marine motion control technology.” (D.I.

  11 at ¶ 7.) The boating industry, it says, is a “deeply relationship-driven industry.” (D.I. 12 at

  ¶ 8.) Given its pole position as a global technology leader in a deeply relationship-driven industry,



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  it undoubtedly possesses “substantial experience and resources and is prepared to compete” with

  a brand new entrant in the market. United Therapeutics Corp. v. Liquidia Techs., Inc., No. 23-

  975-RGA, 2024 U.S. Dist. LEXIS 97445, at *38 (D. Del. May 31, 2024). Thus, its suggestion that

  it is about to lose a “substantial” portion of its market share (D.I. 30 at 19) is speculative at best.




                   In fact, Seakeeper’s website continues to list the price of Seakeeper 4 at $46,200.

  Seakeeper 4, https://www.seakeeper.com/seakeeper-products/seakeeper-4/ (last accessed on May

  21, 2025).




                                                                                                 None of

  these events has yet come to pass. And, even more to the point, Seakeeper offers no evidence that

  this entire chain of events is likely to unfold in the time that it takes the Court to resolve the PI

  Motion. Seakeeper’s price-erosion argument is thus unsupported and speculative. See SmartSky

  Networks, LLC v. Gogo Bus. Aviation, LLC, No. 2023-1058, 2024 U.S. App. LEXIS 2100, at *14



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  (Fed. Cir. Jan. 31, 2024) (“requir[ing] concrete evidence of reduced price to find price erosion”).




                                                                                                    But

  Seakeeper again fails to substantiate this assertion of harm.




                                                          Seakeeper does not explain what purpose a

  TRO would even serve in these circumstances.

            Fourth, even if Seakeeper had presented any non-speculative evidence of imminent loss

  of substantial market share, price erosion, or lost R&D opportunities due to the DG3’s launch,

  these harms would not be irreparable. If harm is “quantifiable,” then it is not irreparable, because

  it may be compensable by money damages. ActiveVideo Networks, Inc. v. Verizon Communs.,

  Inc., 694 F.3d 1312, 1339 (Fed. Cir. 2012). And here, Seakeeper has little trouble reducing its

  fanciful allegations of harm to specific dollar amounts. (See, e.g., D.I. 12 at ¶¶ 22, 25, 33.) By

  admitting that its alleged losses are calculable, Seakeeper has effectively argued itself out of

  injunctive relief. See Sebela Int’l Ltd. v. Actavis Labs. FL, Inc., No. 17-4789-CCC-MF, 2017 U.S.

  Dist. LEXIS 175318, at *21 (D.N.J. Sep. 14, 2017) (finding no irreparable harm where “[the

  plaintiff] itself appears to support Defendants’ assertion that [its] damages are calculable”).

            Finally, even if Seakeeper had shown any irreparable harm imminent enough to justify

  issuing a TRO, it has not shown a “causal nexus” between such harm and the alleged infringement.

  Apple v. Samsung, 695 F.3d 1370, 1374 (Fed. Cir. 2012). “To show irreparable harm, it is



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  necessary to show that the infringement caused harm in the first place. Sales lost to an infringing

  product cannot irreparably harm a patentee if consumers buy that product for reasons other than

  the patented feature.” Apple, 678 F.3d at 1324 (emphasis added). Thus, to obtain an injunction,

  the patentee is required to provide “evidence that directly ties consumer demand for the [accused

  product] to its allegedly infringing feature.” Id. at 1375. Yet Seakeeper’s TRO Motion does not

  address the causal nexus at all, much less adduce evidence “directly t[ying]” the anticipated

  consumer demand for the DG3 to the product’s alleged incorporation of Seakeeper’s patented

  technology. In fact, the record does not even establish that the demand for Seakeeper’s own

  gyrostabilizers is driven by any feature(s) unique to the ’782 or ’930 Patents. As discussed supra

  at 18-19, the record actually shows otherwise.

            Seakeeper has not shown that it will suffer any irreparable harm absent an emergency TRO,

  much less that such harm could be ascribed directly to the alleged patent infringement.

            C.     Neither the Equities nor the Public Interest Favor an Injunction.

            Seakeeper argues that the balance of the equities tips in its favor because “[its] very

  existence depends upon its patented gyrostabilizer products,” and that an emergency injunction

  would serve the public interest in protecting patents. (D.I. 30 at 24-25.) However, as discussed

  supra, Seakeeper’s claim that the launch of the DG3 poses an imminent, existential threat to its

  business is unsupported. Further, given that Seakeeper has made an exceedingly weak showing of

  a likelihood of success on the merits, any public interest in protecting its patents is far outweighed

  by the public interest in promoting legitimate competition in the marketplace. Graceway Pharm.,

  LLC v. Perrigo Co., 697 F. Supp. 2d 600, 609 (D.N.J. 2010). Therefore, it would be neither

  equitable nor in the public’s interest to shield Seakeeper from such legitimate competition.

  V.        CONCLUSION

            Seakeeper’s TRO Motion should be denied.
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